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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BARBARA GRZANECKI,                                    )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )
                                                      )     Case No. 18-cv-00204
SMITH AND NEPHEW, INC., a Delaware                    )
Corporation, ZIMMER US, INC., a Delaware              )     Judge Hon. John J. Tharp
Corporation, and ZIMMER, INC., a Delaware             )
Corporation,                                          )
                                                      )
                       Defendants.                    )

                              AMENDED COMPLAINT AT LAW

       NOW COMES Plaintiff, BARBARA GRZANECKI, by and through her attorneys,

LUCAS AND CARDENAS, P.C., complains of Defendants, SMITH AND NEPHEW, INC., a

Delaware Corporation, ZIMMER US, INC., a Delaware Corporation, and ZIMMER, INC., a

Delaware Corporation, and alleges as follows:

                             FACTS COMMON TO ALL COUNTS

       1.      On December 3, 2015, the plaintiff, Barbara Grzanecki underwent a right total

knee replacement (hereinafter “TKR”).

       2.      On and before December 3, 2015, Smith and Nephew, Inc., was a corporation

incorporated under the laws of the State of Delaware, with its principal place of business located

in the City of Memphis, County of Shelby, State of Tennessee, and was licensed to do business,

and is doing business in the State of Illinois.

       3.      On and before December 3, 2015, Zimmer US, Inc., was a corporation

incorporated under the laws of the State of Delaware, with its principal place of business located




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in the City of Warsaw, County of Kosciusko, State of Indiana, and was licensed to do business,

and is doing business in the State of Illinois.

        4.      On and before December 3, 2015, Zimmer, Inc., was a corporation incorporated

under the laws of the State of Delaware, with its principal place of business located in the City of

Warsaw, County of Kosciusko, State of Indiana, and was licensed to do business, and is doing

business in the State of Illinois.

        5.      Defendant, Smith and Nephew, Inc., was and is engaged in the business of selling

implants in Cook County, Illinois.

        6.      Defendant, Zimmer US, Inc., was and is engaged in the business of selling

implants in Cook County, Illinois.

        7.      Defendant, Zimmer, Inc., was and is engaged in the business of selling implants

in Cook County, Illinois.

        8.      On and before December 3, 2015, Smith and Nephew, Inc., has transacted

business in Illinois and has received substantial revenue from joint replacement and other

orthopedic products sold to Illinois residents.

        9.      On and before December 3, 2015, Zimmer US, Inc., has transacted business in

Illinois and has received substantial revenue from joint replacement and other orthopedic

products sold to Illinois residents.

        10.     On and before December 3, 2015, Zimmer, Inc., has transacted business in Illinois

and has received substantial revenue from joint replacement and other orthopedic products sold

to Illinois residents.




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       11.     On and before December 3, 2015, Smith and Nephew, Inc., was in the business of

specifying, designing, manufacturing, testing or selling surgical implants for the orthopedic and

knee replacement markets.

       12.     On and before December 3, 2015, Zimmer US, Inc., was in the business of

specifying, designing, manufacturing, testing or selling surgical implants for the orthopedic and

knee replacement markets.

       13.     On and before December 3, 2015, Zimmer, Inc., was in the business of

specifying, designing, manufacturing, testing or selling surgical implants for the orthopedic and

knee replacement markets.

       14.     The implants used were Smith and Nephew, Inc., products: GNS II CMT TIB

SIZE 6 RIGHT –LOG225299, LEGION PS OXIN FEM SZ6 RT – LOG225299, PATELLA

IMPLANT 9X32 MM RESURFACING LAST ORDER OCT 2009 – LOG225299, LGN PS

HIGH FLEX XLPE SZ5-6 13MM – LOG225299.

       15.     These aforementioned products were sold by Smith and Nephew, Inc.

       16.     The implant used were Zimmer US, Inc., product: CEMENT BONE

GENTAMICIN PALACOS R+G.

       17.     These aforementioned product was sold by Zimmer US, Inc.

       18.     The implant used were Zimmer, Inc., product: CEMENT BONE GENTAMICIN

PALACOS R+G.

       19.     These aforementioned product was sold by Zimmer, Inc.

       20.     The design of the implant products, the selection of the materials from which they

were fabricated, the manufacturing procedures by which it was made and the inspection




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procedures attendant on the manufacturer were all functions solely within the control of the

Defendant, Smith and Nephew, Inc.

       21.     The design of the implant products, the selection of the materials from which they

were fabricated, the manufacturing procedures by which it was made and the inspection

procedures attendant on the manufacturer were all functions solely within the control of the

Defendant, Zimmer US, Inc.

       22.     The design of the implant products, the selection of the materials from which they

were fabricated, the manufacturing procedures by which it was made and the inspection

procedures attendant on the manufacturer were all functions solely within the control of the

Defendant, Zimmer, Inc.

       23.     Defendant, Smith and Nephew, Inc., expected the implants to reach the consumer

in the condition in which it was sold.

       24.     Defendant, Zimmer US, Inc., expected the implants to reach the consumer in the

condition in which it was sold.

       25.     Defendant, Zimmer, Inc., expected the implants to reach the consumer in the

condition in which it was sold.

       26.     The implants did not undergo any substantial change after it left the manufacturer,

Defendant, Smith and Nephew, Inc.

       27.     The implants did not undergo any substantial change after it left the manufacturer,

Defendant, Zimmer US, Inc.

       28.     The implants did not undergo any substantial change after it left the manufacturer,

Defendant, Zimmer, Inc.




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        29.        From the date of the implant, December 3, 2015 to the present date, December 7,

2017, plaintiff used the implants in the manner for which it was intended, namely, her activities

of daily living.

        30.        In 2016, plaintiff began experiencing pain that was not consistent with TKR.

        31.        In late 2016 and early 2017, scans revealed lucency and particle disease in

plaintiff’s right knee.

        32.        The aforementioned scans indicate the premature and defective failure of the

implants.

        33.        The plaintiff was not aware of the implants defective condition until late 2016 or

early 2017 when the scan were taken.

        34.        Defendant, Smith and Nephew, Inc., sold the implants in a defective condition

which caused the implants to fail.

        35.        Defendant, Zimmer US, Inc., sold the implant in a defective condition which

caused the implants to fail.

        36.        Defendant, Zimmer, Inc., sold the implant in a defective condition which caused

the implants to fail.

                                   COUNT I
              STRICT PRODUCTS LIABILITY v. SMITH AND NEPHEW, INC.

        1-36. Plaintiff realleges and incorporates by reference paragraphs 1 through 36 of Facts

Common to All Counts, as if fully set forth in Count I.

        37.        This condition was unreasonably dangerous to Plaintiff, the intended user.

        38.        Defendant knew or had reason to know of the issues related to the failure of the

product before the date that Plaintiff was implanted with the device.




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       39.      At the time of selling, distributing and supplying the implants, the implants were

unsafe and defective in that they were causing lucency and particles while being used for its

intended purpose.

       40.      At all times relevant, the subject products were defective and unreasonably

dangerous because they failed to perform as safely as an ordinary consumer would expect when

used as intended or in a manner reasonably foreseeable to the manufacturer.

       41.      At all times relevant, the subject products as so manufactured, fabricated, and

assembled, were unreasonably dangerous to anyone who might use it for the purposes for which

they were intended and it was, in fact, defective, dangerous and unsuitable to be placed in the

plaintiff’s body.

       42.      At the time the defective product left the Defendant’s possession and the time the

defective product entered the stream of commerce, the defective product was in an unreasonably

dangerous and defective condition. These defects include but are not limited to the following:

             a. The defective product was not reasonably safe as intended to be used;

             b. The defective product had an inadequate design for its purposes;

             c. The defective product contained unreasonably dangerous design defects,
                including an inherently unstable and defective design, which resulted in an
                unreasonably high probability of early failure;

             d. The defective product’s unstable and defective design resulted in lucency and
                particles which had risks that exceeded the benefits of the medical device;

             e. The defective product’s unstable and defective design resulted in lucency and
                particles which was more dangerous than the ordinary consumer would expect;

             f. The defective product failed to perform in a manner reasonably expected in light
                of its nature and intended function, and subjected the Plaintiff to an unreasonable
                risk of harm beyond that contemplated by an ordinary person;

             g. The defective product was insufficiently tested;



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             h. The warning to Plaintiff and Plaintiff's implanting physicians about the dangers
                the defective product posed to consumers, including Plaintiff, were inadequate.
                The inadequacy of Defendant’s warnings include, but are not limited to, the
                following:

                     i. Insufficient to alert Plaintiff and Plaintiff's physicians as to the risk of
                        adverse events and/or reactions associated with the defective product,
                        subjecting Plaintiff to risks which exceeded the benefits of the defective
                        product;

                    ii. Contained misleading warnings emphasizing the efficacy of the defective
                        product while downplaying the risks associated with it, thereby making
                        use of the defective product more dangerous than the ordinary consumer
                        would expect;

                   iii. Contained insufficient and/or incorrect warnings to alert consumers,
                        including Plaintiff, through their prescribing physicians regarding the risk,
                        scope, duration, and severity of the adverse reactions associated with the
                        defective product;

                   iv. Did not disclose that it was inadequately tested;

                    v. Failed to convey adequate post-marketing warnings regarding the risk,
                       severity, scope, and/or duration of the dangers posed by the defective
                       product;

                   vi. Failed to contain instructions sufficient to alert consumers to the dangers
                       they posed, and to give them the information necessary to avoid or
                       mitigate those dangers;

                   vii. Failure to notify individuals who had been implanted with this defective
                        device, including Plaintiff, that the device was dangerous and may cause
                        severe injury, thereby depriving Plaintiff of the opportunity to seek
                        treatment avoid further injury.

       43.      Defendant as designer, manufacturer, marketer, and distributor of medical devices

are held to the level of knowledge of an expert in their field.

       44.      Plaintiff and the implanting physician did not have substantially the same

knowledge as the designer, manufacturer, or distributor.

       45.      As a direct and proximate result of the dangerous and defective condition on the

implants, plaintiff has been subjected to an unreasonable risk of harm beyond that which would

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be contemplated by an ordinary person with ordinary knowledge common to community as to

the implants characteristics.

        46.     As a direct and proximate result of the defendant’s products failure, the plaintiff

will need to undergo revision surgery, she has suffered multiple injuries on and about her body,

both internally and externally, all or some of which are permanent; that plaintiff has suffered and

will suffer in the future great pain and mental anguish, and has become and will in the future be

obligated for large sums of money in reasonable medical expenses in endeavoring to he treated

for said injuries; that plaintiff has been unable to follow his usual occupation thereby losing large

sums of money she would have otherwise earned; that plaintiff has and will continue to suffer

great pain, suffering and disability.

        WHEREFORE, Plaintiff, BARBARA GRZANECKI, demands judgment be entered

against SMITH AND NEPHEW, INC., in an amount in excess of $50,000.00, plus the costs of

this lawsuit.

                                    COUNT II
                    STRICT PRODUCTS LIABILITY v. ZIMMER US, INC.

        1-36. Plaintiff realleges and incorporates by reference paragraphs 1 through 36 of Facts

Common to All Counts, as if fully set forth in Count II.

        37.     This condition was unreasonably dangerous to Plaintiff, the intended user.

        38.     Defendant knew or had reason to know of the issues related to the failure of the

product before the date that Plaintiff was implanted with the device.

        39.     At the time of selling, distributing and supplying the implant, the implants were

unsafe and defective in that they were causing lucency and particles while being used for its

intended purpose.




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       40.      At all times relevant, the subject products were defective and unreasonably

dangerous because they failed to perform as safely as an ordinary consumer would expect when

used as intended or in a manner reasonably foreseeable to the manufacturer.

       41.      At all times relevant, the subject products as so manufactured, fabricated, and

assembled, were unreasonably dangerous to anyone who might use it for the purposes for which

they were intended and it was, in fact, defective, dangerous and unsuitable to be placed in the

plaintiff’s body.

       42.      At the time the defective product left the Defendant’s possession and the time the

defective product entered the stream of commerce, the defective product was in an unreasonably

dangerous and defective condition. These defects include but are not limited to the following:

             a. The defective product was not reasonably safe as intended to be used;

             b. The defective product had an inadequate design for its purposes;

             c. The defective product contained unreasonably dangerous design defects,
                including an inherently unstable and defective design, which resulted in an
                unreasonably high probability of early failure;

             d. The defective product’s unstable and defective design resulted in lucency and
                particles which had risks that exceeded the benefits of the medical device;

             e. The defective product’s unstable and defective design resulted in lucency and
                particles which was more dangerous than the ordinary consumer would expect;

             f. The defective product failed to perform in a manner reasonably expected in light
                of its nature and intended function, and subjected the Plaintiff to an unreasonable
                risk of harm beyond that contemplated by an ordinary person;

             g. The defective product was insufficiently tested;

             h. The warning to Plaintiff and Plaintiff's implanting physicians about the dangers
                the defective product posed to consumers, including Plaintiff, were inadequate.
                The inadequacy of Defendant’s warnings include, but are not limited to, the
                following:




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                    i.   Insufficient to alert Plaintiff and Plaintiff's physicians as to the risk of
                         adverse events and/or reactions associated with the defective product,
                         subjecting Plaintiff to risks which exceeded the benefits of the defective
                         product;

                   ii.   Contained misleading warnings emphasizing the efficacy of the
                         defective product while downplaying the risks associated with it, thereby
                         making use of the defective product more dangerous than the ordinary
                         consumer would expect;

                  iii.   Contained insufficient and/or incorrect warnings to alert consumers,
                         including Plaintiff, through their prescribing physicians regarding the
                         risk, scope, duration, and severity of the adverse reactions associated
                         with the defective product;

                  iv.    Did not disclose that it was inadequately tested;

                   v.    Failed to convey adequate post-marketing warnings regarding the risk,
                         severity, scope, and/or duration of the dangers posed by the defective
                         product;

                  vi.    Failed to contain instructions sufficient to alert consumers to the dangers
                         they posed, and to give them the information necessary to avoid or
                         mitigate those dangers;

                  vii.   Failure to notify individuals who had been implanted with this defective
                         device, including Plaintiff, that the device was dangerous and may cause
                         severe injury, thereby depriving Plaintiff of the opportunity to seek
                         treatment avoid further injury.

       43.     Defendant as designer, manufacturer, marketer, and distributor of medical devices

are held to the level of knowledge of an expert in their field.

       44.     Plaintiff and the implanting physician did not have substantially the same

knowledge as the designer, manufacturer, or distributor.

       45.     As a direct and proximate result of the dangerous and defective condition on the

implants, plaintiff has been subjected to an unreasonable risk of harm beyond that which would

be contemplated by an ordinary person with ordinary knowledge common to community as to

the implants characteristics.



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       46.     As a direct and proximate result of the defendant’s products failure, the plaintiff

will need to undergo revision surgery, she has suffered multiple injuries on and about her body,

both internally and externally, all or some of which are permanent; that plaintiff has suffered and

will suffer in the future great pain and mental anguish, and has become and will in the future be

obligated for large sums of money in reasonable medical expenses in endeavoring to he treated

for said injuries; that plaintiff has been unable to follow his usual occupation thereby losing large

sums of money she would have otherwise earned; that plaintiff has and will continue to suffer

great pain, suffering and disability.

       WHEREFORE, Plaintiff, BARBARA GRZANECKI, demands judgment be entered

against ZIMMER US, INC., in an amount in excess of $50,000.00, plus the costs of this lawsuit.

                                  COUNT III
                    STRICT PRODUCTS LIABILITY v. ZIMMER, INC.

       1-36. Plaintiff realleges and incorporates by reference paragraphs 1 through 36 of Facts

Common to All Counts, as if fully set forth in Count III.

       37.     This condition was unreasonably dangerous to Plaintiff, the intended user.

       38.     Defendant knew or had reason to know of the issues related to the failure of the

product before the date that Plaintiff was implanted with the device.

       39.     At the time of selling, distributing and supplying the implant, the implants were

unsafe and defective in that they were causing lucency and particles while being used for its

intended purpose.

       40.     At all times relevant, the subject products were defective and unreasonably

dangerous because they failed to perform as safely as an ordinary consumer would expect when

used as intended or in a manner reasonably foreseeable to the manufacturer.




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       41.      At all times relevant, the subject products as so manufactured, fabricated, and

assembled, were unreasonably dangerous to anyone who might use it for the purposes for which

they were intended and it was, in fact, defective, dangerous and unsuitable to be placed in the

plaintiff’s body.

       42.      At the time the defective product left the Defendant’s possession and the time the

defective product entered the stream of commerce, the defective product was in an unreasonably

dangerous and defective condition. These defects include but are not limited to the following:

             a. The defective product was not reasonably safe as intended to be used;

             b. The defective product had an inadequate design for its purposes;

             c. The defective product contained unreasonably dangerous design defects,
                including an inherently unstable and defective design, which resulted in an
                unreasonably high probability of early failure;

             d. The defective product’s unstable and defective design resulted in lucency and
                particles which had risks that exceeded the benefits of the medical device;

             e. The defective product’s unstable and defective design resulted in lucency and
                particles which was more dangerous than the ordinary consumer would expect;

             f. The defective product failed to perform in a manner reasonably expected in light
                of its nature and intended function, and subjected the Plaintiff to an unreasonable
                risk of harm beyond that contemplated by an ordinary person;

             g. The defective product was insufficiently tested;

             h. The warning to Plaintiff and Plaintiff's implanting physicians about the dangers
                the defective product posed to consumers, including Plaintiff, were inadequate.
                The inadequacy of Defendant’s warnings include, but are not limited to, the
                following:

                     i.   Insufficient to alert Plaintiff and Plaintiff's physicians as to the risk of
                          adverse events and/or reactions associated with the defective product,
                          subjecting Plaintiff to risks which exceeded the benefits of the defective
                          product;

                    ii.   Contained misleading warnings emphasizing the efficacy of the defective
                          product while downplaying the risks associated with it, thereby making

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                       use of the defective product more dangerous than the ordinary consumer
                       would expect;

                iii.   Contained insufficient and/or incorrect warnings to alert consumers,
                       including Plaintiff, through their prescribing physicians regarding the risk,
                       scope, duration, and severity of the adverse reactions associated with the
                       defective product;

                iv.    Did not disclose that it was inadequately tested;

                 v.    Failed to convey adequate post-marketing warnings regarding the risk,
                       severity, scope, and/or duration of the dangers posed by the defective
                       product;

                vi.    Failed to contain instructions sufficient to alert consumers to the dangers
                       they posed, and to give them the information necessary to avoid or
                       mitigate those dangers;

                vii.   Failure to notify individuals who had been implanted with this defective
                       device, including Plaintiff, that the device was dangerous and may cause
                       severe injury, thereby depriving Plaintiff of the opportunity to seek
                       treatment avoid further injury.

       43.     Defendant as designer, manufacturer, marketer, and distributor of medical devices

are held to the level of knowledge of an expert in their field.

       44.     Plaintiff and the implanting physician did not have substantially the same

knowledge as the designer, manufacturer, or distributor.

       45.     As a direct and proximate result of the dangerous and defective condition on the

implants, plaintiff has been subjected to an unreasonable risk of harm beyond that which would

be contemplated by an ordinary person with ordinary knowledge common to community as to

the implants characteristics.

       46.     As a direct and proximate result of the defendant’s products failure, the plaintiff

will need to undergo revision surgery, she has suffered multiple injuries on and about her body,

both internally and externally, all or some of which are permanent; that plaintiff has suffered and

will suffer in the future great pain and mental anguish, and has become and will in the future be

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obligated for large sums of money in reasonable medical expenses in endeavoring to he treated

for said injuries; that plaintiff has been unable to follow his usual occupation thereby losing large

sums of money she would have otherwise earned; that plaintiff has and will continue to suffer

great pain, suffering and disability.

       WHEREFORE, Plaintiff, BARBARA GRZANECKI, demands judgment be entered

against ZIMMER, INC., in an amount in excess of $50,000.00, plus the costs of this lawsuit.

                                     COUNT IV
                       NEGLIGENCE v. SMITH AND NEPHEW, INC.

       1-36. Plaintiff realleges and incorporates by reference paragraphs 1 through 36 of Facts

Common to All Counts, as if fully set forth in Count IV.

       37.     This condition was unreasonably dangerous to Plaintiff, the intended user.

       38.     Defendant knew or had reason to know of the issues related to the failure of the

product before the date that Plaintiff was implanted with the device.

       39.     At the time of selling, distributing and supplying the implants, the implants were

unsafe and defective in that they were causing lucency and particles while being used for its

intended purpose.

       40.     At all times relevant, the subject products were defective and unreasonably

dangerous because they failed to perform as safely as an ordinary consumer would expect when

used as intended or in a manner reasonably foreseeable to the manufacturer.

       41.     At all times relevant, the subject products as so manufactured, fabricated, and

assembled, were unreasonably dangerous to anyone who might use it for the purposes for which

they were intended and it was, in fact, defective, dangerous and unsuitable to be placed in the

plaintiff’s body.




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       42.      On, before, and after December 3, 2015, and at the time the subject products left

the control of Defendant, Smith and Nephew, Inc., the defendant was negligent in one or more of

the following ways:

             a. The advertising and marketing campaigns undertaken by the defendant misled
                consumers as to their efficacy, proper function and safety; and failed to warn
                consumers of the dangerous conditions of the subject products;

             b. The products were designed and manufactured in such a way to create the risk of
                particle disease;

             c. The products were not manufactured in compliance with good manufacturing
                practices;

             d. The products failed to contain adequate labeling for uses to which defendant
                knew, or should have known, the subject products were being put;

             e. The products were manufactured without appropriate procedures to control the
                design of the products to ensure that specified design requirements were met;

             f. The products were manufactured without appropriate procedures for quality
                audits, or the defendants failed to appropriately conduct such audits;

             g. The products were manufactured without adequate control or monitoring of
                production processes to ensure that the subject processes conformed to the
                specifications;

             h. The products were manufactured without timely review, evaluation and process
                revalidation after process deviations occurred; and

             i. Failed to warn about the subject products high failure rate when they knew, or
                should have known, warnings were necessary.

       43.      Defendant knew or had reason to know that Plaintiff, as a member of the general

public for whose use the defective product was placed into interstate commerce, would be likely

to use the defective product in a manner described in this Complaint.

       44.      Defendant knew or reasonably should have known of the danger associated with

the manner and circumstances of Plaintiff's foreseeable use of the defective product, which

danger would not be obvious to the general public.

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        45.     As a direct and proximate result of the dangerous and defective condition on the

implants, plaintiff has been subjected to an unreasonable risk of harm beyond that which would

be contemplated by an ordinary person with ordinary knowledge common to community as to

the implants characteristics.

        46.     As a direct and proximate result of the defendant’s products failure, the plaintiff

will need to undergo revision surgery, she has suffered multiple injuries on and about her body,

both internally and externally, all or some of which are permanent; that plaintiff has suffered and

will suffer in the future great pain and mental anguish, and has become and will in the future be

obligated for large sums of money in reasonable medical expenses in endeavoring to he treated

for said injuries; that plaintiff has been unable to follow his usual occupation thereby losing large

sums of money she would have otherwise earned; that plaintiff has and will continue to suffer

great pain, suffering and disability.

        WHEREFORE, Plaintiff, BARBARA GRZANECKI, demands judgment be entered

against SMITH AND NEPHEW, INC., in an amount in excess of $50,000.00, plus the costs of

this lawsuit.

                                         COUNT V
                                NEGLIGENCE v. ZIMMER US, INC.

        1-36. Plaintiff realleges and incorporates by reference paragraphs 1 through 36 of Facts

Common to All Counts, as if fully set forth in Count V.

        37.     This condition was unreasonably dangerous to Plaintiff, the intended user.

        38.     Defendant knew or had reason to know of the issues related to the failure of the

product before the date that Plaintiff was implanted with the device.




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       39.      At the time of selling, distributing and supplying the implant, the implants were

unsafe and defective in that they were causing lucency and particles while being used for its

intended purpose.

       40.      At all times relevant, the subject products were defective and unreasonably

dangerous because they failed to perform as safely as an ordinary consumer would expect when

used as intended or in a manner reasonably foreseeable to the manufacturer.

       41.      At all times relevant, the subject products as so manufactured, fabricated, and

assembled, were unreasonably dangerous to anyone who might use it for the purposes for which

they were intended and it was, in fact, defective, dangerous and unsuitable to be placed in the

plaintiff’s body.

       42.      On, before, and after December 3, 2015, and at the time the subject products left

the control of Defendant, Zimmer US, Inc., the defendant was negligent in one or more of the

following ways:

             a. The advertising and marketing campaigns undertaken by the defendant misled
                consumers as to their efficacy, proper function and safety; and failed to warn
                consumers of the dangerous conditions of the subject products;

             b. The products were designed and manufactured in such a way to create the risk of
                particle disease;

             c. The products were not manufactured in compliance with good manufacturing
                practices;

             d. The products failed to contain adequate labeling for uses to which defendant
                knew, or should have known, the subject products were being put;

             e. The products were manufactured without appropriate procedures to control the
                design of the products to ensure that specified design requirements were met;

             f. The products were manufactured without appropriate procedures for quality
                audits, or the defendants failed to appropriately conduct such audits;




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             g. The products were manufactured without adequate control or monitoring of
                production processes to ensure that the subject processes conformed to the
                specifications;

             h. The products were manufactured without timely review, evaluation and process
                revalidation after process deviations occurred; and

             i. Failed to warn about the subject products high failure rate when they knew, or
                should have known, warnings were necessary.

       43.      Defendant knew or had reason to know that Plaintiff, as a member of the general

public for whose use the defective product was placed into interstate commerce, would be likely

to use the defective product in a manner described in this Complaint.

       44.      Defendant knew or reasonably should have known of the danger associated with

the manner and circumstances of Plaintiff's foreseeable use of the defective product, which

danger would not be obvious to the general public.

       45.      As a direct and proximate result of the dangerous and defective condition on the

implants, plaintiff has been subjected to an unreasonable risk of harm beyond that which would

be contemplated by an ordinary person with ordinary knowledge common to community as to

the implants characteristics.

       46.      As a direct and proximate result of the defendant’s products failure, the plaintiff

will need to undergo revision surgery, she has suffered multiple injuries on and about her body,

both internally and externally, all or some of which are permanent; that plaintiff has suffered and

will suffer in the future great pain and mental anguish, and has become and will in the future be

obligated for large sums of money in reasonable medical expenses in endeavoring to he treated

for said injuries; that plaintiff has been unable to follow his usual occupation thereby losing large

sums of money she would have otherwise earned; that plaintiff has and will continue to suffer

great pain, suffering and disability.



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       WHEREFORE, Plaintiff, BARBARA GRZANECKI, demands judgment be entered

against ZIMMER US, INC., in an amount in excess of $50,000.00, plus the costs of this lawsuit.

                                      COUNT VI
                               NEGLIGENCE v. ZIMMER, INC.

       1-36. Plaintiff realleges and incorporates by reference paragraphs 1 through 36 of Facts

Common to All Counts, as if fully set forth in Count VI.

       37.      This condition was unreasonably dangerous to Plaintiff, the intended user.

       38.      Defendant knew or had reason to know of the issues related to the failure of the

product before the date that Plaintiff was implanted with the device.

       39.      At the time of selling, distributing and supplying the implant, the implants were

unsafe and defective in that they were causing lucency and particles while being used for its

intended purpose.

       40.      At all times relevant, the subject products were defective and unreasonably

dangerous because they failed to perform as safely as an ordinary consumer would expect when

used as intended or in a manner reasonably foreseeable to the manufacturer.

       41.      At all times relevant, the subject products as so manufactured, fabricated, and

assembled, were unreasonably dangerous to anyone who might use it for the purposes for which

they were intended and it was, in fact, defective, dangerous and unsuitable to be placed in the

plaintiff’s body.

       42.      On, before, and after December 3, 2015, and at the time the subject products left

the control of Defendant, Zimmer, Inc., the defendant was negligent in one or more of the

following ways:

             a. The advertising and marketing campaigns undertaken by the defendant misled
                consumers as to their efficacy, proper function and safety; and failed to warn
                consumers of the dangerous conditions of the subject products;

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             b. The products were designed and manufactured in such a way to create the risk of
                particle disease;

             c. The products were not manufactured in compliance with good manufacturing
                practices;

             d. The products failed to contain adequate labeling for uses to which defendant
                knew, or should have known, the subject products were being put;

             e. The products were manufactured without appropriate procedures to control the
                design of the products to ensure that specified design requirements were met;

             f. The products were manufactured without appropriate procedures for quality
                audits, or the defendants failed to appropriately conduct such audits;

             g. The products were manufactured without adequate control or monitoring of
                production processes to ensure that the subject processes conformed to the
                specifications;

             h. The products were manufactured without timely review, evaluation and process
                revalidation after process deviations occurred; and

             i. Failed to warn about the subject products high failure rate when they knew, or
                should have known, warnings were necessary.

       43.      Defendant knew or had reason to know that Plaintiff, as a member of the general

public for whose use the defective product was placed into interstate commerce, would be likely

to use the defective product in a manner described in this Complaint.

       44.      Defendant knew or reasonably should have known of the danger associated with

the manner and circumstances of Plaintiff's foreseeable use of the defective product, which

danger would not be obvious to the general public.

       45.      As a direct and proximate result of the dangerous and defective condition on the

implants, plaintiff has been subjected to an unreasonable risk of harm beyond that which would

be contemplated by an ordinary person with ordinary knowledge common to community as to

the implants characteristics.



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       46.     As a direct and proximate result of the defendant’s products failure, the plaintiff

will need to undergo revision surgery, she has suffered multiple injuries on and about her body,

both internally and externally, all or some of which are permanent; that plaintiff has suffered and

will suffer in the future great pain and mental anguish, and has become and will in the future be

obligated for large sums of money in reasonable medical expenses in endeavoring to he treated

for said injuries; that plaintiff has been unable to follow his usual occupation thereby losing large

sums of money she would have otherwise earned; that plaintiff has and will continue to suffer

great pain, suffering and disability.

       WHEREFORE, Plaintiff, BARBARA GRZANECKI, demands judgment be entered

against ZIMMER, INC., in an amount in excess of $50,000.00, plus the costs of this lawsuit.

                                                      Respectfully Submitted,
                                                      BARBARA GRZANECKI, Plaintiff




                                              By: ____________________________________
                                                           One of Her Attorneys

Katherine A. Cardenas
Khalid Hasan
LUCAS AND CÁRDENAS, P.C.
Attorneys for Plaintiff
77 W. Washington Street, Suite 900
Chicago, Illinois 60602
Phone: (312) 781-0082
Fax: (312) 332-4718
Email: KAC@lucasandcardenas.com
Email: KJH@lucasandcardenas.com
Attorney No. 6320755




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BARBARA GRZANECKI,                          )
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )
                                            )     Case No. 18-cv-00204
SMITH AND NEPHEW, INC., a Delaware          )
Corporation, ZIMMER US, INC., a Delaware    )     Judge Hon. John J. Tharp
Corporation, and ZIMMER, INC., a Delaware   )
Corporation,                                )
                                            )
                    Defendants.             )
                               CERTIFICATE OF SERVICE

       I, Khalid Hasan, an attorney, hereby certifies under penalties of perjury as provided by
law, pursuant to 705 ILCS 5/1-109, that on January 24, 2018, I electronically filed the foregoing
document with the United States District Court for the Northern District of Illinois by using the
CM/ECF system. I certify that the following parties or their counsel of record are registered as
ECF Filers and that they will be served by the CM/ECF system:

                      Anthony J. Monaco (amonaco@smbtrials.com)
                      Joshua E. Bidzinski (jbidzinski@smbtrials.com)
                      Marie K. Lynch (mlynch@smbtrials.com)
                      Swanson, Martin & Bell, LLP
                      330 N. Wabash Ave., Suite 3300
                      Chicago, Illinois 60611
                      Attorneys for Defendant, SMITH & NEPHEW, INC.

                                                    By: _____/s/ Khalid Hasan_________



Katherine A. Cárdenas
Khalid J. Hasan
LUCAS AND CÁRDENAS, P.C.
77 West Washington Street, Suite 900
Chicago, Illinois 60602
Phone: 312-781-0082
Email: KAC@LucasandCardenas.com
Email: KJH@LucasandCardenas.com
Attorney No. 6320755



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